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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                8:16CR62
                                            )
      vs.                                   )
                                            )
FRANCISCO GOMEZ,                            )                  ORDER
MANUEL ORTIZ,                               )
MARIA ROBLES-ROJAS,                         )

                    Defendants.


       This matter is before the court on the government’s Motion to Continue Trial
[222]. Counsel for the government is in trial on a previously scheduled matter as well as
needing additional time to retrieve witnesses in federal custody. For good cause shown
and continuity of counsel,

      IT IS ORDERED that the Motion to Continue Trial [222] is granted, as follows:

      1. The jury trial, for all defendants, now set for February 26, 2018 is continued
         to March 19, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
          justice will be served by granting this continuance and outweigh the interests
          of the public and the defendant in a speedy trial.

      3. A party may object to this order by filing an "Objection to Magistrate Judge's
         Order" no later than February 9, 2018. The objecting party must comply with
         all requirements of NECrimR 59.2.

      DATED: February 5, 2018.

                                         BY THE COURT:


                                         s/ Susan M. Bazis
                                         United States Magistrate Judge
